Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.8 Page 1 of 32


David D. Gallup, Managing lnvestigator                                          Served: Harris Simmons c/o Geoff
                                                                                Landwood c/o Cynth¡a Grua
ICEKEY INVESTIGATIONS
                                                                                Served by: D Gallup
P.O. Box 981804                                                                 Datei 11l10l21Time: 4:23 p.m.

Park City, Utah 84098                                                           Address: 60 S. 400 W., Salt Lake City,
                                                                                Utah
(435) 5r3-0280

icekevinvestioations@live.com




                                IN THE THIRD DISTRICT COURT

                           SALT LAKE COUNTY STATE OF UTAH



                                                             Proof of Service under URCP 4
ARIIYANA RINGGOLD, AND MILES
RAMSEY, on behalf of themselves and all                      Case No.      21   0903725
others similarly situated,
PLAINTIFFS,                                                  Judge Keith Kelly

V.
UTAH SYSTEM OF HIGHER EDUCATION;
AND, HARRIS H. SIMMONS.
DEFENDANTS.


 (1)     The following documents were served by the method described below:

x        Summons

x        Class Action
          Complaint and Demand for Jury Trial




Service by Third Person (Note: Certain people and entities must be served in a certain way. This
form includes only the most common ways. Consult URCP 4(d) for others.)

(2) X            I am over the age of 18. I am not a party to this action. I am not an
          attorney for a party to this action.

(3) X           On 11110t21,|went to 60 S. 400 W., Salt Lake City, Utah, and I delivered
          the documents listed in Paragraph (1) to Harris Simmons c/o Geoff Landwood
          c/o Cynthia Grua, who is.




Proof of Service                                Approved Board of District Court Judges Apr¡l   17,2009     Page'l of    2
 Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.9 Page 2 of 32


           The named party defendanVrespondent.                                                      Serving defendant-
                                                                                                     respondent by delivery

      A person of suitable age and discretion residing at that                                       Serving an individual by
                                                                                                     leaving at his/her home
address, which is the named party's dwelling house

fl     An agent authorized by appointment or by law to receive                                       Serving an individual by
                                                                                                     delivery to an agent
service of process on behalf of the named party.
           Describe how you served the document.                                                     Other. See URCP 4.


I have not included any non-public information from this document.
I declare under penalty     of Utah Code Section 788-5-705 that everything stated in this document is true
and correct.

Date       11110121                                 Sign here Þ             /s/ David Gallup

                                         Typed or printed name              David D. Gallup, P.l. UT LIC G102640


                                               Gertificate of Service
I certifv that I served a copy of this Proof    of Service under URCP 4 on the fol lowino oeoole.
                                                                                          Served at this                Served on
       Person's Name                     Method of Service                                  Address                     this Date
     Harris Simmons c/o        X   Hand Delivery                                        60 S. 400 W., Salt              11t10121
     Geoff Landwood c/o                                                                  Lake City, Utah
        Cynthia Grua           X   l-ett at business     6/v¡th person in charge
                                   or in receptacle for deliveries.)
                               !   l-ett at home (with person of suitable age
                                   and discretion residing there.)

Date       11110121                                  Sign here Þ            /s/ David Gallup

                                         Typed or printed name              David D. Gallup, P.l. UT LIC G102640

                                FOR ICEKEY INVESTIGATIONS OFFICE USE ONL Y
SERVED          Harris Simmons c/o Geoff Landwood c/o Cynthia Grua                          SERVED TITLE: Agent

OFFICE                                                                                      SERVICE FEES: $75.00
NOTES


Military        Age   Weight    Height     Eyes     Hair       Race     Gender      Hos      11110121 4'.23 p.m.

                55    167       5/8        ?        BRW        C        F           N       SERVER NAME D Gallup




 Proof of Service                                          Approved Board of District Court Judges April   17   ,2009     Page 2 ol 2
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.10 Page 3 of 32




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Samantha E. Hawe (Utah BarNo. 17615)
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50 West Broadway, Suite 600
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Telephone: (801) 639-0954
dchandler@aklawfirm. com
shawe@aklawfirm.com

Edward'W. Ciolko (subject to Pro Hac Vice admission)
Lynch Carpenter, LLP
I 133 Penn Avenue, 5th Floor
Pittsburgh, PA15222
Telephone : (267) 609 -1990
eciolkofÐ.lcllp.com


Attorneysþr Plaintffi and Proposed Class

                  IN THE THIRD DISTRICT COURT, SALT LAKE COUNTY
                                   STATE OF UTAH


ARIIYANA RINGGOLD, aNo MILES                  )
RAMSEY, on behølf of themselves and all others)
similørly   siluated,                            )
                                                 )
                            Pt   ltxttnnso       )            SUMMONS
                                                 )
v.)
                                   ) Case No. 210903725
UTAH SYSTEM OF HIGHER EDUCATION; )
,4ND, HAI{RIS H. SIMMONS.          ) Judge Keith Kelly
                                   )
                      Dnrnxonr¡rs. )
       THE STATE OF UTAH TO THE NAMED DEFENDANTS:

                                   Harris H. Simmons, Chair
                                         Two Gateway
                                      60 South 400 West
                                   Salt Lake City, UT 84101
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.11 Page 4 of 32




        YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court,450 South

State Street, Salt Lake City, Utah 84114 and to serve upon Plaintiffs' attomeys, Deborah Chandler,

Anderson   & Karrenberg, 50 West Broadway,         Suite 600, Salt Lake City, Utah 84101-2035, an Answer to

the Class Action Complaint, which is herewith served upon you, within twenty-one (21) days after service

of this Summons upon you, exclusive of the day of service. If you fail to do      so, judgment   by default will

be taken against you for the relief demanded in the Class Action Complaint, the original of which has been

filed with the Clerk of the Court and   a copy   of which is attached and served upon you.


        DATED: November 10, 2021.

                                                     ANDERSON & KARRENBERG

                                                     /s/ Deborah R. Chandler
                                                     Deborah R. Chandler
                                                     Samantha E. Hawe
                                                     Attorneysfor Plaintffi and Proposed Class




                                                         2
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.12 Page 5 of 32


David D. Gallup, Managing lnvestigator                                          Served:   Utah System of Higher
                                                                                Educat¡on c/o Geoff Landwood c/o
ICEKEY INVESTIGATIONS                                                           Cynth¡a Grua

                                                                                Served by: D Gallup
P.O. Box 981804
                                                                                Dale:   1   1   I   10121'Íime: 4:23 p.m.
Park Gity, Utah 84098
                                                                                Address: 60 S. 400 W., Salt Lake City,
(435) 5r3-0280                                                                  Utah

icekevinvestiqations(Alive.com




                                 IN THE THIRD DISTRICT COURT

                            SALT LAKE COUNTY STATE OF UTAH



                                                            Proof of Service under URCP 4
ARIIYANA RINGGOLD, AND MILES
RAMSEY, on behalf of themselves and all                     Case No.       21   0903725
others sim ilarly situated,
PLAINTIFFS,                                                 Judge Keith Kelly
V.
UTAH SYSTEM OF HIGHER EDUCATION;
AND, HARRIS H. SIMMONS.
DEFENDANTS.


 (1)      The following documents were served by the method described below:

X        Summons

x        Class Action
         Complaint and Demand for Jury Trial




Service by Third Person (Note: Certain people and entities must be served in a certain way. This
form includes only the most common ways. Consult URCP 4(d) for others.)

(2) X            I am over the age of 18. I am not a party to this action. I am not an
          attorney for a party to this action.

(3) X           On 11t10121,|went to 60 S. 400 W., Salt Lake City, Utah, and I delivered
          the documents listed in Paragraph (1) to Utah System of Higher Education c/o
          Geoff Landwood c/o Cynthia Grua, who is:




Proof of Service                               Approved Board of District Court Judges April            17,2009       Page 1 of2
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.13 Page 6 of 32


           The named party defendanlrespondent.                                                  Serving defendant-
                                                                                                 respondent by delivery

I     A person of suitable age and discretion residing at that                                   Serving an individual by
                                                                                                 leaving at his/her home
address, which is the named party's dwelling house.

X      An agent authorized by appointment or by law to receive                                   Serving an individual by
                                                                                                 delivery to an agent
service of process on behalf of the named party
           Describe how you served the document                                                  Other. See URCP 4.


I have not included any non-public information from this document.
I declare under penalty of Utah Code Section 788-5-705 that everything stated in this document is true
and correct.

Date       11110121                                 Sign here Þ        /s/ David Gallup

                                        Typed or printed name          David D. Gallup, P.l. UT LIC G102640


                                               Certificate of Service
I certifv that I served a coþv of this Proof of Service under URCP 4 on the followino people
                                                                            Served at this                    Served on
    Person's Name                             Method of Service                        Address                this Date
 Utah System of Higher         X   Hand Delivery                                   60 S. 400 W., Salt          11t10t21
  Education c/o Geoff                                                               Lake City, Utah
 Landwood c/o Cynthia          I   Left at business (with person in charge
                                   or in receptacle for deliveries.)
             Grua
                               !   Left at home (With person of suitable age
                                   and discretion residino there.)

Date       11110121                                 Sign here Þ        /s/ David Gallup

                                        Typed or printed name          David D. Gallup, P.l. UT LIC G102640

                               FOR ICEKEY INVESTIGATIONS OFFICE USE ONLY
SERVED:        Utah System of Higher Education c/o Geoff Landwood c/o Cynthia           SERVED TITLE: Agent
               Grua
OFFICE                                                                                  SERVICE FEES: $75.00
NOTES


Military       Age    Weight   Height     Eyes     Hair    Race    Gender      Hos      11110121 4'.23 p.m.

               55     167      5/8        2        BRW    c        F           N        SERVER NAME D Gallup




Proof of Service                                      Approved Board of District Court Judges April   17,2009   Page 2 oÍ 2
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.14 Page 7 of 32




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Lynch Carpenter, LLP
1133 Penn Avenue, 5th Floor
Pittsburgh, PA 15222
Telephone: (267) 609 -1990           þ.'i
eciolko@lcllp.com                        f

Attorneys   þr Plaintffi and Proposed   Class

                    IN THE THIRD DISTRICT COURT, SALT LAKE COUNTY
                                     STATE OF'UTAH


ARIIYANA RINGGOLI),         AND   MILES              )
RAMSEY, on behalf of themselves ønd all others)
similørly situøted,                           )
                                                     )
                              PLArNrmrs,             )                         SUMMONS
                                                     )
V                                                    )
                                                     ) Case No. 210903725
UTAH SYSTEM OF HIGHER EDUCATION; )
   HAIIÌÌIS H. SIMMONS.
,4ND,                            )                       Judge Keith   Kelly
                                                    )
                              DrrnNnlNrs.           )

        THE STATE OF UTAH TO THE NAMED DEFENDANTS:

                                Utah System of Higher Education
                                   Office of the Commissioner
                              Dave R. Woolstenhulme, Commissioner
                                             Two Gateway
                                       60 South 400 West
                                    salt Lake city, uT 84101
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.15 Page 8 of 32




        YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court, 450 South

State Street, Salt Lake City, Utah 84114 and     to serve upon Plaintiffs' attorneys, Deborah   Chandler,

Anderson & Karrenberg, 50 'West Broadway, Suite 600, Salt Lake City, Utah 84101-2035, an Answer to

the Class Action Complaint, which is herewith served upon you, within twenty-one (21) days after service

of this Summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will

be taken against you for the relief demanded in the Class Action Complaint, the original of which has been

filed with the Clerk of the Court and a copy of which is attached and served upon you.


        DATED: November 10, 2021.

                                                 ANDERSON & KARRENBERG

                                                 /s/ Deborah R. Chandler
                                                 Deborah R. Chandler
                                                 Samantha E. Hawe
                                                 Attorneys for Plaintffi and Proposed Class




                                                    2
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.16 Page 9 of 32




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Attorneys   for Plaintffi and Proposed Class
                    IN THE THIRD DISTRICT COURT, SALT LAKE COUNTY
                                     STATE OF UTAH


ARIIYANA RINGGOLD,           AND   MILES           )
RAMSEY, on behalf of themselves and all        others)   Case No.
similarly situated,                   )
                                      )
                       Pr-lrNtlrnso   )
                                      )                  CLASS ACTION COMPLAINT AND
V                                     )                  DEMAND FOR JURY TRIAL
                                      )
UTAH  SYSTEM   OF HIGHER   EDUCATION; )
erø, HARRIS H. SIMONS.                )
                                      )
                       DrrnNn¡,xrs.   )


       Plaintiffs, Ariiyana Ringgold and Miles Ramsey (collectively, "Plaintiffs"), by and through

their undersigned counsel, brings this Class Action Complaint against Defendants, the Utah

System of Higher Education (the "system'o)o and Harris H. Simons in his capacity as Chairman    of

the Board of Regents of the System (the "Board" or, collectively with the System, "Defendants"),

and allege as follows based upon information and belief, except as to the allegations specifically

pertaining to them, which are based on personal knowledge.
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                                        NATURE OF THE ACTION

        1.       This is a class action lawsuit on behalf of all persons who paid or will pay tuition

and/or fees to attend one of the Universitiesl under the control of the Board (collectively, the

"Universities") for an in-person, hands on education for the Spring 2020 semester, Summer 2020

semester, and any future semester affected by Coronavirus Disease 2019 ("COVID-19") when

their course work moved to online learning. Such persons paid all or part of the tuition for each

semester, housing fees, andlor mandatory fees               that varied depending upon which of the

Universities the student was enrolled ("Mandatory Fees"). The Universities have not provided

just compensation for the taking of Plaintiffs' and the Class members' constitutionally protected

property in the form of on-going contractual services and funds (tuition, housing fees, and

Mandatory Fees).

        2.       Because ofthe Universities' response to the       COVID-I9 pandemic, on or about mid-

March, 2020, the Universities ceased in-person and on-campus learning, and ceased or severely

limited any of the services or facilities the Mandatory Fees were intended to cover.

        3.       Some of the Universities have also provided students with a partial refund of

housing costs, but only if the students were able to move out prior to a strict move-out date. Those

students who moved out of housing after the strict move-out date should also be entitled to              a    just

compensation     for the taking of their housing fees and the unilateral cancellation of their

constitutionally protected contractual interests.

        4.       In short,   as   to tuition, Plaintiffs and the members of the Class have paid tuition for

an in-person education and educational experience, with all the appurtenant benefits offered as a



rDixie State University, Salt Lake Community College, Southern Utah University, Snow College, University of
Utah, Utah State University, Utah Valley University, and Weber State University.

                                                        2
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result, and were provided a materially different and less valuable product, which constitutes a

breach of the contract entered into by Plaintiffs and the Class with the Universities. As said in

New York Magazine, "Universities are still ín a period of consensual hallucination with each

saying, 'We're going to maintain these prices            þr     what has become, overnight, a dramatically less

c   ompe   I I in g   produc t offe r ing. "2
                                         0




            5.            As to the Mandatory Fees, Plaintifß and the Class have paid fees for services and

facilities which are simply not being provided; this failure also constitutes a breach ofthe contracts

entered into by           Plaintifß and the Class with the Universities.

            6.            As a result of ceasing or severally limiting the promised benefits, the Universities

unlawfully failed to perform its ongoing contractual obligations and seized and are in possession

of property (funds) of the Plaintiffs and Class members in the form of paid tuition, housing, and

Mandatory Fees, and have not provided just compensation for such taking.

            7   .         Plaintifß seek, for themselves and Class members, just compensation for the tuition

and Mandatory Fees paid, proportionate to the reduction in contracted for services provided during

the time that remained in the Spring Semester 2020 where the campuses were closed and students

were moved to distance/vinual learning, and the entirety of all semesters affected by Covid-19 for

any class members who signed up and paid for on campus classes when the Universities closed/will

remain closed and switched to online distance learning, or, in the case of housing, the portion of

the housing fee for the days left in the semester for any members of the Class that moved out after

the strict move-out dates. The return of such pro-rated amounts would compensate Plaintiffs and




2
 James D. Walsh, "The Coming Disruption," New York Magazine, May 11, 2020, available at
https://nymag.com/intelligencer/2020l05/scott-galloway-future-of-college.html?utm:source:fb (site last visited June
9,2020).

                                                            J
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the Class members for just compensation sustained by way of Defendant's unconstitutional

actions.

           8.       Prior to bringing this action, on May 3,202l,Plaintiffs served   a   Notice of Claim to

the Board on behalf ofthemselves and the Class defined herein pursuant to Utah Code 63G-7-401.

A copy of the Notice of Claim is attached hereto      as   s[jþi!1!.
           g.       Plaintiffs' counsel has sent a Freedom of Information Act (FOIA) request to the

Board and each of the individual Universities in order too inter alia, gain access to the internal

communications regarding issuing potential refunds and reimbursements to the students, and the

ultimate denial of the same. If any information received proves fruitful, Plaintiffs shall amend the

Complaint to incorporate.

                                                PARTIES

           10.      Plaintiff Ariiyana Ringgold is a citizen of Nevada. She paid to attend the Spring

2020 semester at Dixie State University ("Dixie State") as a full-time undergraduate student.

Plaintiff Ringgold paid tuition and the Mandatory Fees for the Spring 2020 semester to enable her

to obtain an in-person, on-campus educational experience, and enable her to participate in the

activities and to utilizethe services covered by the Mandatory Fees that she paid. She has not been

provided just compensation for the taking of the tuition paid for her in-person classes that were

discontinued and moved online, or the Mandatory Fees she paid after Dixie State's facilities were

closed or access was severally limited and events were cancelled.

           I   l.   Plaintiff Miles Ramsey is a citizen of Utah. He paid to attend the Spring 2020

semester at the University of Utah ("Utah") as a full-time graduate student. Plaintiff Ramsey paid

tuition and the Mandatory Fees for the Spring 2020 semester to enable him to obtain an in-person,

on-campus educational experience, and enable him to participate in the activities and to utilize the

                                                     4
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services covered by the Mandatory Fees that he paid. He has not been provided just compensation

for the taking of the tuition paid for his in-person classes that were discontinued and moved online,

or the Mandatory Fees he paid after Utah's facilities were closed or access was severely limited

and events were cancelled.

           12.      Defendant, Utah System of Higher Education, is an institution of higher education

that is compiled of eight public universities and eight technical schools3, with its principal place

of business at 60 South 400 West, Salt Lake City, Utah 84101.

           13.      The System is governed by a Board of Regents, comprised of seventeen residents

of the State of Utah appointed by the Govemor with the consent of the Senate. 538-l-104 UCA.

The Board has the authority and ability to create policies regarding tuition at the Universities.a

           14.      Defendant    Haris H. Simons is being sued in his offÏcial capacity       as member and

Chairman of the Board of Regents. The Board maintains its principal place of business at 60 South

400 west, salt Lake        city, utah 84101.

           15.      The Universities offer numerous major fields for undergraduate students, as well          as


a number of graduate programs. The Universities'programs include students from many,                     if not

all, of the states in the country.

                                        JURISDICTION AND VENUE

           16.      The Court has jurisdiction over this action pursuant to Utah Code Ann. $ 784-5-

102 and Utah Code Ann. $ 63G-7-302(l).




3
    This Complaint does not include the eight technical schools.
a
 httos://ushe.edu/ushe-meeting-evenlboard-of-regents-meeting-36/;
https://www.deseret.com/utah/2020l3/26l21 195651/with-covid-19-impacts-weighing-on{heir-minds-utah-regents-
ok-tuition-hikes-at-most-collegesa

                                                            5
Case 2:21-cv-00702-DAO Document 2-2 Filed 11/29/21 PageID.21 Page 14 of 32




           17.      Venue is proper in this county pursuant to Utah Code Ann. $ 788-3-307 andUtah

Code Ann. $ 63G-7-502 because this is a county in which the cause(s) of action arises and/or

Defendants reside in this county. Moreover, the Utah System of Higher Education has its principal

office in Salt Lake County, Utah, maintaining its office at The Gateway, 60 South 400 West, Salt

Lake City, Utah 84101.

                                          FACTUAL ALLEGATIONS.

           18.      Plaintiffs and Class Members paid to at.nd one of the Universities' Spring 2020

semester, or future semesters affected by Covid-19, including tuition, housing           (if they lived   on

campus), and/or the Mandatory Fees.

            19.     The Spring 2020 semester at Dixie State began on or about January 21,2020. The

Spring 2020 semester ended on or around April 30,2020. The Summer 2020 semester began on

or about May I1,2020, and ended on or around July 31,2020.

           20.      Dixie State charges students tuition and Mandatory Fees for each semester enrolled.

           21.      The Mandatory Fees at Dixie State consists of: Athletics, Human Performance

Center Fund, DSUSA, Recreation/Intramurals/Fitness,                IT Support, Student Center Operations,

Department       of Student Involvement, Health and Wellness Center, Testing Center, New Student

Center Fund, Tutoring Center, One Time Expense Fund, Radio and Broadcast Advertising, Fine

Arts, Writing Center, Dixie Sun News, Student Inclusion, AED, and Institute of Politics and Public

Affairs.s

           22.      According to Dixie State, the purpose of these fees is to "make a lot of the

experiences you see on campus a possibility." Further, in exchange for these fees,         "[y]ou also get




5
    https://dixie.ed u/thedixielife/2020-202 1-student-fees/
                                                               6
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access     to a ton of great perks" such as "[a]ccess to free athletic games," "access to the fitness

center," and "campus events."6

           23.      The Spring 2020 semester at Utah began on or about January 6,2020. The Spring

semester ended on or around          April 29,2020. The Summer2020 semester began on May 11,2020,

and ended on or around July 31,2020.

           24.      Utah charges students tuition and Mandatory Fees for each semester enrolled.

           25.      The Mandatory Fees at Utah consists of: Computing, Building, Athletic, Student

Life Center, Transportation, Gardner Commons, ASUU Activity, Health Services, Campus

Recreation, Fine Arts, Library, Utilities, Student Publications Council, Mental Health, Union

Building Fee, Money Management, Study Abroad, Sustainability, and Campus Connect.T

           26.      According to Utah, the fees are paid in exchange for the "availability and the use

                   o'campus                                                          o'Intramural Sports,
of facilities,"                shuttle buses," "free access to sporting events," and

Sport Clubs."8

           27.      Plaintiffs and members of the Class paid all or part of the applicable tuition for the

benefit of on-campus live interactive instruction and an on campus educational experience

throughout the entire semester.

           28.      Plaintifß and members of the Class paid the Mandatory Fees for the semester        so


they could benefit throughout the entire semester from the services and facilities for which the

Mandatory Fees pertained.

           29.      The members of the Class who lived on campus during the Spring 2020 semester

paid the applicable cost for the benefìt of on-campus housing throughout the entire semester.


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    ld.
7   https://www.obia. utah.ed u/tuition-req uired-fees/
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    ld.
                                                          7
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           30.      The other Universities charged tuition, housing, and Mandatory Fees that varied

depending on which campus the student was enrolled with, and whether the student was a resident

of the State of Utah.

           31.      The Universities have retained the value of the tuition, housing, and Mandatory

Fees,    while failing to provide the services for which they were paid.

           32.      Members of the Class have demanded the return of the prorated portion of tuition

and Mandatory Fees, and have taken to an online petition to demand the same.e

           33.      Despite the demand from the Class, the Universities have not provided any refund

of tuition or Mandatory Fees and continue to retain the monies paid by Plaintifß and the Class.

This retention amounts to a taking.

           34.      The Universities and their students are governed by certain agreements amongst

them such as policies, handbooks, codes ofconduct, and/or general customary practices.

           35.      For example, Dixie State's Code of Student Rights and Responsibilities provides

that students have a right to a learning environment. Specifically:

               Learning Environment: Students have a right to an environment and climate
               conducive to learning and thinking. Students have a right of reasonable access to
               University facilities, services, and programs, including access to faculty members and
               to courses as described in the University Catalog. University teaching should reflect
               consideration for the dignity of students and their rights and individuals. Students have
               a right to be treated with courtesy and respect.                                                  10




            36.      Similarly, Utah's Student Code indicates that its purpose is to: "set forth the specific

authority and responsibility of the University to maintain social discipline, to establish guidelines




e
    https://www.change.org/p/utah-state-universitv-oetition-for-usu-to-reimburse-students-a-portion-of-their-semester-
fees
10
     https ://catalos.dixie.ed u/codeofstudentriehtsresponsibilities/

                                                              8
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that facilitate a just and civil campus community, and to outline the educational process for

determining student and student organization responsibility for alleged violations of University

regulations. University policies have been designed                                     to protect individuals and the                   campus

community and create an environment conducive to achieving the academic mission of the

institution."lI

              In   Response to   COVID-I9, the Universities Closed Campus, Preventìns Access to its
                         Facilities. Services, Housins. and Cancelled All In-Person Classes

                   37.    In response to the COVID-I9 pandemic, Dixie State created a new section for its

website to provide updates and answer frequently asked questions.12

                   38.    Starting immediately after spring break, on March 23,2020, Dixie State cancelled

all in-person            classes and transitioned             to remote online courses for the rest of the Spring 2020

semester.            Dixie State further canceled all campus events, gatherings, and athletics for                                              the

foreseeable future.13

                   39.    Specifically, in response to the COVID-l9 pandemic, Dixie State uploaded the

following information to its website:

        AHE ALL CLASSES BEING HELD HEMOTELY?
        Starting Monday, March23, ¡ecture-style classes traditionally held on câmpus w¡ll be held remotely to protect the health of the community.
        Remote learn¡nq employs various methods ¡ncluding but not limited to onl¡ne courses, podcasts, and face-to-face l¡ve lnternel sessions.




11
        https://resu lations.utah.ed u/academics/6-400.ph p
I   2
        https://wellness.dixie.edu/coronavirus-information/
13
        Id.

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           WHAT EVENTS tlI'¡ SAMPUS HAVE BEEN CANCELEN?
           All Universìty-sptnsored evêntg anci måss gather¡rìgs âre ¡feing cancelecl, rcschedulÊd, or co!ìductec, remotely until fr¡rthêr nöticÊ.


           SHf]ULtl IEANOEL MY fIN-OAMPUS MEETINE?



           AHt ATHIETII        EVEI,ITS    0AiltEtttl?
           Yrs. DSU'5 ljcpartmênt of lntcrcollcgiate Athlctics has cðncclcd ðll rcma¡nìnq 2020 conlcrencc and nön confcroncc 5pr¡ng athlctic ôvont5,
           tråvel, ârxj pràr:t¡ces. {;et tlle latest uprjate trom llix¡e State Atlìletics t]Èlr.



           14




           40.        On or about March 23, 2020, Dixie State placed limitations on facilities and

services by restricting hours and access for students. Specifically, the library was open only for

computer and printer use, and students were urged to study remotely and only come to the library

when absolutely necessary.                  All   other facilities were either closed in order to provide services

remotely, or remained open with significantly reduced hours.ls

           41.        After transitioning all in-person classes to a remote online learning format, Dixie

State gave students the option to receive a PassÆrlo Credit grade                                            in lieu of traditional             letter

grading.l6

           42.        Dixie State subsequently postponed the Spring2020 commencement ceremony to

December 17,2020.1j

           43.        Dixie State ultimately decided to cancel in person classes for the entirety of the

Summer 2020 semester, administering classes remotely instead.




t4
     Id.
ts   Id.
t6
     Id.
t7   Id.

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           44.   Dixie State has not held a full in-person semester of classes since March 13,2020,

which was just before the commencement of its spring break. Classes that have continued since

March 23,2020 during the Spring 2020 and Summer 2020 terms were only offered in a remote

online format with no in-person instruction or interaction.

           45.   Also in response to the COVID-19 pandemic, Dixie State gave students the option

to move out of on-campus housing by April 7,2020 to obtain a prorated refund of housing costs.ls

Student who could not move out prior to that date were not eligible for a refund.

           46.   Dixie State posted on its website that no refund for tuition will be given since it is

continuing education online. It did not provide any refund information for the Mandatory Fees.le

           47.   Upon information and beliel the other Universities, including Utah, followed

similar procedures under the guidance of the Board, cancelling in person classes and on campus

services, while retaining the   full amount of tuition and Mandatory   Fees paid.

       Plaintiffs and the Class Members Conlrscted wilh lhe Universities lo Receive In-Person
                     Instruction snd Facililv Access bv Pavine Tuilion and Fees

           48.    Students attending the Universities did not choose to attend an online institution   of

higher learning, but instead chose to enroll in the Universities' in-person educational program.

           49.   On their websites, the Universities solicit students by describing the on-campus

experience as a benefit of enrollment by stating:


     Learning is exciting when you fillyour life with enriching
     experíences and unforgettable f riendships. Catch a game, see           a
     concert, join a club, and learn lessons that last a lifetime.




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     Id.
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     Id,

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 While academics rule the day, the experiences outside of class is a major part to l¡fe at
 the    U. Around campus, extracurricular activities abound                             with hundreds of clubs and
 student groups, ranging from the serious and studious (like, the Park Debãte Society) to
 the adrenatine-filled and heart-pumping (see Freeskier Societ]1), with nearly everything in
     between.                                                                                                                           21




     Campus Life
 USU is the oldest residential campus in Utah offering a variety of year-round activities and
 countless ways to connect with other members of the university community.                                                              22




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     https://campuslife.dixie.edu/
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     https ://www.utah.edu/_archive/l ife/student.php
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     https ://www. usu. edu/campus-life/

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          Fillyour uníversity life wíth
          unforgeltable experiences at
          the SearsArt Museum, the O.C.
          Tanner Amphitheater, or one
          of the many sporting events
          throughout the year.
                                              /t



        50.      Some   of the Universities offer online classes as a distinct product offering that

requires separate enrollment and registration.

        51.      Plaintiffs and members of the Class did not choose the online programs offered by

the Universities.

        52.      Prior to Covid-I9, Dixie State offered "DSU Online."        24



        53.      Leaving the decision to enroll in online programs to the students, Dixie State states:

"Follow in the footsteps of other Trailblazers, and choose an online program that works for your

schedule, lifestyle, and location."2s

        54.      When reviewing the programs offered at Utah, the university proclaims:      "With l8

colleges and schools and nearly 100 departments, one would be hard pressed to find a subject

matter not taught at the U. It's this broad spectrum of diverse academic pursuits that contributes to

the intellectuøl energy experienced on campu^s."26 (emphasis added).




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   https://www.utah.edu/academics/col leges. php
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            55.      Utah has a pledge entitled "student Success" that makes four distinct promises: (i)

Promise      l: Learning Communities; (ii) Promise 2: Advising & Mentoring; (iii) Promise 3: Plan to

Finish; (iv) Promise 4: Deeply Engaged Learning Experience.2T

            56.      Utah's first promise to its students is to provide a collaborative community where

you do noy need to study alone:

 LEARNIXG COMMUNITIES & COHORTS
 No need to study alone in your dorm or secluded irr the library. During your first year at the U you can be part of a cohort. A group of
 students working through the same curriculum. Your academic crew. You can also study in a learning tommun¡ty. Students with the
 same academic interests taking eourses ànd part¡cipat¡ng ir'ì extracurr¡(ulðr act¡v¡ties together,


28



            57.      The Universities use their websites, promotional materials, circulars, admission

papers, handbooks, codes, and publications to solicit and offer on campus education students                                         will

receive in its facilities.

            58.      During the online portion of the semesters, the Universities offered some classes

through Zoom. Other classes, however, stopped providing the students with any lectures at all and

required that the students leam on their own and turn in assignments when due. Therefore, there

was a lack of bargained-for classroom interaction among teachers and students and among

individual students.

            59.      Students have been deprived of the opportunity for collaborative learning and in-

person dialogue, feedback, and critique.

            60.      Access to facilities such as libraries, laboratorieso computer labs, and study rooms,

are also a bargained for component of Plaintiffs and the Class members' college education, and




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     https ://studentsuccess. utah.ed   u/
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     https://studentsuccess.utah.edu/resources/learning-communities-amp-cohorts/
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access   to the myriad activities    offered   by   campus      life   fosters social development and

independence, and networking for future careers,         all substantial and materials parts of the basis

upon which the Universities can charge the tuition it charges, are not being provided.

         61.   The Universities have not made any refund of any portion of the tuition Plaintiffs

and the members of the Class paid for the semesters for the period          it moved to on-line   distance

learning.

         62.   Nor have the Universities refunded any portion of the Mandatory Fees it collected

from Plaintiffs and the members of the Class for the semesters even though it limited access to or

ceased the services and   facilities for which the Mandatory Fees were intended to pay.

         63.   There are also members of the Class who were not able to move out of Universities'

housing prior to the strict move out dates and should be entitled to a prorated refund for the

remaining days of the Spring 2020 semester.

         64.    Plaintiffs and the Class members are therefore entitled to just compensation for the

taking of the tuition and Mandatory Fees they paid for the semesters affected by Covid-19 for the

reduction in benefits received during remaining days of the semester after classes moved from in-

person to online and facilities were closed or severally limited. Further, any students who lived on

campus during the Spring 2020 semester and who moved out after the strict move out date, should

be entitled to just compensation for the taking of housing fees that they paid for the remaining days

of that semester after they left the campus.

         65.   Defendants are obligated to uphold the Utah and United States Constitutions.

         66. By denying in-person learning and on-campus benefits and opportunities,
Defendants have violated the Utah Constitution, Article          I, $$ 7   and 22, and the United States

Constitution's Fifth and Fourteenth Amendments. Plaintiffs and members of the Class are entitled

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to just compensation for the taking of tuition, housing, and Mandatory Fees for the reduction in

benefits received for the duration of the Universities COVID-19 related closures for the in-person

education and on-campus services and opportunities that Plaintiffs and members of the Class have

been denied.

                                   CLASS ACTION ALLEGATIONS

          67.     Plaintiffs bring this case individually and, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, on behalf of the class defined     as


                  All   persons who paid tuition, housing fees (for those who lived on-
                  campus), andlor the Mandatory Fees for a student to attend in-
                  person class(es) during the Spring 2020 semester and/or Summer
                  2020 semester at one of the Universities but had their class(es)
                  moved to online learning (the "Class").

          68.     Excluded from the Class is Defendants, their subsidiaries and affiliates, their

officerso directors and members of their immediate families and any entity in which Defendants

have a controlling interest, the legal representative, heirs, successors or assigns of any such

excluded Þarty, the judicial officer(s) to whom this action is assigned, and the members of their

immediate families.

          69.     Plaintiffs reserve the right to modifr or amend the definition of the proposed Class

if   necessary before this Court determines whether certification is appropriate.

          70.     This action has been brought and may properly be maintained on behalf ofthe Class

proposed herein under the criteria of Rule 23 of the Utah Rules of Civil Procedure.

          71.     The requirements of Rule 23(a)(l) have been met. The Class is so numerous that

joinder of all members is impracticable. Although the precise number of Class members is

unknown to Plaintiffs,       it is believed that the number of students enrolled in the Spring    2020

semester exceed 150,000. The number           of   students enrolled   for Summer 2020 or any future

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semesters is unknown at this time. The identity of    all such students is known to the Universities

and can be identified through the Universities' records. Class members may be notified of the

pendency of this action by recognized, Couft-approved notice dissemination methods, which may

include U.S. Mail, electronic mail, Internet postings, and/or published notice.

       72.      The requirements of Rule 23(a)(2) have been met. There are questions of law and

fact common to the members of the Class including, without limitation:

           a.   Whether the Universities accepted money from Plaintiffs and the Class members in

                exchange for the promise to provide an in-person and on-campus live education, as

                well as access to certain facilities and services throughout the Spring        2020

                semester;

           b. Whether Defendants breached its contracts with Plaintifß and the members of the
                Class by failing to provide them with an in-person and on-campus live education

                after mid-March2020;

           c.   Whether Defendants complied with the Constitutional requirements for seizing and

                retaining Plaintiffs' and the Class members' property without providing the

                services that the tuition, housing, and Mandatory Fees were intended to cover;

           d.   Whether Defendants afforded Plaintiffs and the other Class members notice and

                due process before seizing and retaining their property; and

           e.   The amount ofjust compensation and other relief to be awarded to Plaintiffs and

                the Class members.

       73.      The requirements of Rule 23(a)(3) have been met. Plaintiffs' claims are typical   of

the claims of the members of the Class because Plaintiffs and the other Class members each

contracted with Defendants for   it to provide an in-person and on-campus live education for the

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tuition they paid, Universities housing (for those who lived on-campus), and access to the services

and facilities for the Mandatory Fees that they paid, that the Universities stopped providing in mid-

March, all while unlawfully retaining the property (funds) of the Plaintiffs and Class.

       74.     The requirements of Rule 23(a)@) have been met. Plaintiffs are adequate class

representative because their interests do not conflict with the interests of the other Class members

who the seek to represent, Plaintiffs have retained competent counsel who are experienced in

complex class action litigation, and Plaintiffs intend to prosecute this action vigorously. Class

members' interests will be fairly and adequately protected by Plaintiffs and their counsel.

        75.    Class certification of Plaintiffs' claims is also appropriate pursuant to Rule 23(bX3)

because the above questions    of law and fact that are common to the Class predominate          over

questions affecting only individual members of the Class, and because a class action is superior to

other available methods for the fair and efficient adjudication of this litigation. The amounts     of

just compensation owed to the individual Class members, or the damages or financial detriment

suffered by individual Class members, are relatively small compared to the burden and expense       of

individual litigation oftheir claims against the Universities. It would, thus, be virtually impossible

for the Class, on an individual basis, to obtain effective redress for the wrongs committed against

them. Furthermore,      individualized litigation would create the danger         of   inconsistent or

contradictory judgments arising from the same set of facts. Individualized litigation would also

increase the delay and expense to   all parties and the court system from the issues raised by this

action. By contrast, the class action device provides the benefits of adjudication of these issues in

a single proceeding, economies of scale, and comprehensive supervision by a single court, and

presents no unusual management difficulties under the circumstances.




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                              FIRST CLAIM FOR RELIEF
                   VTOLATION OF THE TAKINGS CLAUSE - 42 U.S.C.                  S 1983
                           (On Behalf of Plaintiffs and the Class)

          76.      Plaintiffs repeat and re-alleges the factual allegations above, as    if fully   alleged

herein.

          77   .   Plaintiffs brings this claim individually and on behalf of the members of the Class

against the individually named Defendant.

          78.      The Takings Clause of the Fifth Amendment provides that private prop:rty shall

not "be taken for public use, without just compensation." U.S. Const. Amend. V. The takings

clause is made applicable to the states through the Fourteenth Amendment. See U.S. Const.

Amend.    XIY;Murrv.      Wisconsin, 137 S. Ct.1933,1942,198 L. Ed.2d497 (2017) (citing Chicago,

B. & Q.R. Co.v. Chicago,166U.S.226,17 S.Ct.581,41 L.Bd.979 (1897).

          79.      Takings claims may properly be brought against state agencies and are not barred

by sovereign immunity.

          80.      Common law has recognized that there is a property right by an owner in funds held

in an account managed by another. Here, the Universities received payment of tuition, housing,

and Mandatory Fees from private citizens, as consideration for the benefit of receiving in-person

course instruction, housing, and other on-campus benefits - the funds are thus private in nature but

held by a public entity. Plaintiffs and the other members of the Class have a protected property

right in all sums they paid to the Universities.2e



2s
  Indeed, colleges and universities must be able to separately account for student payments, as
well as financial aid received on an individual student's behalf,, as these institutions are
frequently required to issue refunds to the government and the student for instances where the
student enrolls, but does not complete classes for which the institution has received financial aid
payments from the federal government. The Higher Education Act ("HEA"), Title IV, governs
federally funded student financial aid programs for college and post-secondary vocational
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       81.        In addition, prior to the start of the Spring 2020 term, Plaintifß     and the Class

members paid      for   andlor agreed to pay   for an in-person educational experience and access to

Defendant's campus and facilities. As a result, Plaintiffs and Class members also have a protected

property interest in an enforceable right to receive such services.

        82.       Defendant violated the Takings Clause by failing to provide ongoing contracted for

services and by failing to retum to Plaintiffs and members of the Class that portion of the tuition,

housing, and Mandatory Fees for which they received nothing, or significantly less than what they

bargained for in return. Neither Plaintiffs nor the other Class members have made a knowing and

voluntary waiver of their constitutional right under the Fifth Amendment to be paid just

compensation for the taking of their property rights in those funds.

       83.        Thus, Plaintifß and the Class are entitled to injunctive reliefprohibiting Defendants

from continuing to charge full tuition and fees when only providing online distance learning and

limited or no access to campus, and injunctive relief ordering Defendants to return funds

unlawfully withheld.

                                  SECOND CLAIM FOR RELIEF
                                 DUE PROCESS - 42 U.S.C. $ 1983
                                (On Behalf of Plaintiffs and the Class)

        84.       Plaintifß repeat and re-allege the factual allegations set forth above as if fully

alleged herein.



training. See20 U.S.C. $$ 1070-1099(1990&,1992 Supp.). TheHEArequiresthatwhena
student withdraws partway through the enrollment period, the institution must refund a ceftain
portion of the charges to account for its reduced educational obligations toward the
student. Career Coll. Ass'n v. Riley, 74 F.3d 1265, 1269 (D.C. Cir. 1996). Thus, it is beyond
dispute that any college or university receiving any tuition payments through government-
provided financial aid must be able to account for what was paid for each individual
student. This means that each student's tuition funds must be capable of being separately
identified and sequestered.
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       85.      Plaintiffs bring the claim individually and on behalf of the members of the Class

against all Defendants.

       86.      Government actors must provide adequate due process procedures when depriving

citizens of protected property interests. U.S. Const. Amend.   XIV; Utah Const. Art. I, $ 7.

       87.      The due process clauses of the U.S. and Utah Constitutions prohibits the State of

Utah and the governmental agencies that      it forms,   such as the System and the Board, from

depriving citizens of a protected property interest without due process of law.

       88.      Plaintiffs and the Class members had a constitutionally protected property interest

in the tuition, housing, and Mandatory Fees they paid for in-person education, housing, and oh-

campus services and opportunities but were denied due to the COVID-19 pandemic. Plaintiffs and

Class members also had a constitutionally protected property interest in ongoing services as

contracted for with the Universities.

       89.      Defendants took actions affecting Plaintifß and the other Class memberso

constitutionally protected property interest by failing to provide ongoing contracted for services

and by retaining amounts from Plaintiffs' and the Class members' payment of tuition, housing,

and Mandatory Fees.

       90.      Defendants deprived Plaintiffs and the other Class members of their protected

property interests without due process of law by, for example:

           a.   Failing to provide timely notice to Plaintiffs and the Class, whose identity and
                contact information Defendants either knew, or by exercise or reasonable diligence
                should have known, ofthe refundable nature of the tuition, housing, and Mandatory
                Fees;

           b.   Failing to design and implement criteria by which the tuition, housing, and
                Mandatory Fees can be refunded to Plaintiffs and the Class in light of the
                Universities ceasing or severally limiting all on-campus in-person lectures,
                housing, and activities due to the COVID-19 pandemic; and

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              c.   Failing to design and implement a mechanism by which Plaintiffs and the other
                   Class members can obtain a refund of the tuition, housing, and Mandatory Fees in
                   light of the Universities' ceasing or severally limiting all on-campus in-person
                   lectures, housing, and activities due to the COVID-19 pandemic.

        91.        Defendants' failure to comply with the requirements of due process has deprived

Plaintiffs and the Class members of their property andlor has resulted in substantial detriment to

the Plaintiffs and the Class.

                                    THIRD CLAIM FOR RELIEF
                                    INVERSE CONDEMNATION
                                 (On Behalf of Plaintiffs and the Class)

        92.        Plaintiffs repeat and re-allege the factual allegations set forth above as    if fully
alleged herein

        93.        Plaintiffs brings this claim individually and on behalf of the Class members against

all Defendants.

        94.        Article l, ç 22 of the Utah Constitution provides "Private property shall not be taken

or damaged for public use without just compensation." Utah Const. art.l, $ 22. Thus, the Utah

Constitution prohibits the individual Defendants from taking private property for public use

without j ust compensation.

       95.         Common law has recognized that there is a property right by an owner in funds

held in an account managed by another. Here, Defendants received payment of tuition, housing,

and mandatory fees from private citizens, as consideration for the benefit of receiving in-person

course instruction, housing, and other on-campus       benefits-the funds   are thus private in nature

but held by a public entity. Plaintiffs and Class Members have a protected property right in all

sums they paid to Defendants.




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        96.       In addition, prior to the start of the Spring 2020 term, Plaintiffs and the Class

members paid      for and/or agreed to pay for an in-person educational experience and access to

Defendant's campus and facilities. As a result, Plaintiffs and Class members also have      a   protected

property interest in an enforceable right to receive such services.

        97.       Defendants violated the Utah Constitution by failing to provide the contracted for

in-person on-campus education and experience or return and/or direct the return to Plaintifß and

Class Members that portion of the tuition, housing, and mandatory fees for which they received

nothing, or significantly less than what they bargained for in retum. Neither Plaintiffs nor the

other Class Members have made a knowing and voluntary waiver of their constitutional right

under the Utah Constitution to be paid just compensation for the taking of their property rights in

those funds.

        98.       Thus, Plaintiffs and the Class are entitled to just compensation for the taking of

their property.

                                       PRAYER F'OR RELIEF

        WHEREFORE, Plaintiffs respectfully request that judgment be entered                 in favor of
Plaintiffs and the Class against Defendants as follows:

                  (a)    For an order certifying the Class under Rule 23 ofthe Federal Rules of Civil

                         Procedure and naming Plaintiffs as representatives          of the Class and
                         Plaintiffs' attorneys   as Class Counsel to represent the Class;

                  (b)     For an order finding in favor of Plaintiffs and the Class on all counts

                         asserted herein;

                  (c)    For just compensation in an amount to be determined by the trier of fact;

                  (d)    For an order of restitution and all other forms of equitable monetary relief;

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                (e)     Awarding Plaintiffs' reasonable attorneys' fees, costs, and expenses;

                (Ð      Awarding pre- and post-judgment interest on any amounts awarded; and,

                (g)     Awarding such other and further relief   as may be   just and proper.

                                 DEMAND FOR TRIAL BY JURY

        Pursuant to the Utah Rule of    Civil Procedure 38(b), Plaintiffs demand atrial by jury of

any and all issues in this action so triable of right.

        DATED the l4th day of      July,202l.                    i
                                                 ANDERSON & KARRENBERG

                                                 /s/ Deborah R. Chandler
                                                 Deborah R. Chandler
                                                 Samantha E. Hawe
                                                 Attorneys for Plaintffi and Proposed Class




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